Case 2:20-cv-00053-JDC-KK Document 66-1 Filed 01/24/22 Page 1 of 1 PageID #: 486




                             UNITED STATES DISTRICT
                             UNITED STATES DISTRICT COURT
                                                    COURT
                             WESTERN DISTRICT
                             WESTERN DISTRICT OF
                                              OF LOUISIANA
                                                 LOUISIANA
                                LAKE CHARLES
                                LAKE  CHARLES DIVISION
                                              DIVISION

  LARRY W.
  LARRY W. ASHWORTH
           ASHWORTH                     **      CIVIL ACTION
                                                CIVIL ACTION NO.  2:20-CV-00053
                                                              NO. 2:20-CV-00053
                                        **
  VERSUS
  VERSUS                                **            JUDGE JAMES
                                                      JUDGE JAMES D.D. CAIN,
                                                                       CAIN, JR.
                                                                             JR.
                                        **
  INTERNATIONAL PAPER
  INTERNATIONAL    PAPER COMPANY,
                         COMPANY,       ** MAGISTRATE   JUDGE KATHLEEN
                                           MAGISTRATE JUDGE    KATHLEEN KAYKAY
  ET AL
  ET AL                                 **
  ****************************************************************************
  ****************************************************************************

                                           ORDER
                                           ORDER

        Considering the
        Considering the Motion
                        Motion to Enroll Additional
                               to Enroll Additional Counsel
                                                    Counsel of
                                                            of Record,
                                                               Record, which was filed
                                                                       which was filed by
                                                                                       by

 Defendant, International
 Defendant, International Paper
                          Paper Company
                                Company (“IP”):
                                        ("IP"):

        IT IS
        IT IS ORDERED
              ORDERED that
                      that the
                           the Motion
                               Motion is
                                      is GRANTED.
                                         GRANTED. Daniel
                                                  Daniel J.
                                                         J. Mulholland
                                                            Mulholland is
                                                                       is hereby
                                                                          hereby enrolled
                                                                                 enrolled

 as additional
 as additional counsel
               counsel of
                       of record
                          record for
                                 for IP.
                                     IP.

        Lake Charles,
        Lake Charles, Louisiana,
                      Louisiana, this
                                 this       day of
                                            day of                   2022.
                                                                     2022.




                                           JAMES D.
                                           JAMES D. CAIN
                                                    CAIN
                                           UNITES STATES DISTRICT
                                           UNITES STATES DISTRICT JUDGE
                                                                  JUDGE
